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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
__________________________________

UNITED STATES OF AMERICA,                   :
                Plaintiff,                  :
                                            :       CASE NO. 24-Cr-676-VEC
              v.                            :
                                            :       NOTICE OF FILING OF LETTERS IN
                                                    SUPPORT OF OREN ALEXANDER
                                    :
OREN ALEXANDER,                     :
                  Defendant.        :
..................................../

      Undersigned counsel hereby gives notice of filing of the attached letters in support of Oren

Alexander.

                                                    Respectfully submitted,

                                                    KLUGH WILSON LLC

                                                    BY:    /s/ Richard C. Klugh
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